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                      SOUTHERN                                       DISTRICT OF                                  FLORIDA


             UNITED STATES OF AMERICA
                                                                                          EX H IBIT A N D W ITN ESS LIST
                         V.
                  STEVEN GOODMAN                                                                 CaseNumber; 10-80149-CR-MARRA

PRESIDING JUDGE                                      PLAINTIFF'S ATTORNEY                                DEFENDANT'S ATTORNEY
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